                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

           Philip Stull III,          )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )               3:20-cv-00291-DCK
                                      )
                 vs.                  )
                                      )
                                      )
   Life Insurance Company of North    )
               America,               )
             Defendant(s).            )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 27, 2021 Order.

                                               October 27, 2021




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